Docket No: 1:19-cv-00593 (LCB)(JILW)

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

 

 

x
ZION WILLIAMSON,
Plaintiff,
-against-
PRIME SPORTS MARKETING, LLC AND
GINA FORD,
Defendants.
xX

 

NOTICE OF MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

 

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ATTORNEYS FOR DEFENDANTS PRIME SPORTS MARKETIN G, ELC
AND GINA FORD

Case 1:19-cv-00593-| CB-JLW/ Document 17 Filed 09/12/19 Pane 1of4

 
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

 

x Docket No: 1:19-cy-00593 (LCB)(JLW)
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PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, the
Declaration of Willie E. Gary, Esq. dated September 12, 2019 and the Exhibits attached thereto,
the Affidavit of Defendant GINA FORD dated and duly sworn to on September 11, 2019, and,
all pleadings and proceedings heretofore had herein, Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD will move this Court before the Honorable Loretta
Copeland Biggs on a date to be determined by the Court at the United States District Court,
Middle District of North Carolina, for an Order dismissing Plaintiff's First Amended Complaint
in this action for lack of jurisdiction and lack of diversity of citizenship jurisdiction in violation
of 28 U.S. Code Section 1332(a),for failure to join a necessary party and for forum non

conveniens, pursuant to FRCP 12(b), 12(b)(1), 12(b)(6), 12(b)(7) and FRCP 19.

Case 1:19-cv-00593-| CB-JLW/ Document 17 Filed 09/12/19 Pane ? of 4

 
Dated: Jamaica, New York
September 12, 2019

By:

Case 1:19-cv-00593-LCB-JLW

Respectfully submitted,

/s/ Willie E. Gary
WILLIE E. GARY (Florida Bar No.: 187843)

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/s/ Stephen L. Drummond

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“Is/ JoAnn Squillace

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/s/ Alvin L. Pittman

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Document 17 Filed 09/12/19 Pane 2 o0f4

 
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Case 1:19-cv-00593-| CB-JLW/ Document 17 Filed 09/12/19 Pane 4doft4

 
